577 F.2d 1133
    Rodiv.Flota Mercante, Motor Vessel Ciudad de Quito***
    No. 77-2514
    United States Court of Appeals, Fifth Circuit
    7/27/78
    
      1
      E.D.La.
    
    
      2
      AFFIRMED***
    
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        **
         Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
      
        ***
         Opinion contains citation(s) or special notations
      
    
    